                           United States District Court
                         Western District of North Carolina
                                Charlotte Division

         Johnathan Campbell,           )             JUDGMENT IN CASE
                                       )
              Plaintiff(s),            )              3:20-cv-00692-DCK
                                       )
                  vs.                  )
                                       )
   Commissioner of Social Security ,   )
           Defendant(s).               )

 DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s June 24, 2022 Order.

                                               June 24, 2022




        Case 3:20-cv-00692-DCK Document 21 Filed 06/24/22 Page 1 of 1
